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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TEXAS

                              In re TROY A. SMOCKS

                             Case Number: 4:22-cv-00838


     AMENDED EMERGENCY PETITION FOR WRIT OF PROHIBITION

I. VENUE

This lawsuit attacks the unlawful conduct of the United States Probation Office for

the Eastern District of Texas under Circuit Law and Texas statutory law. This

action is predicated under the Courts Constitutional powers pursuant to 28 U.S.C. §

1651(a), which prescribes:

      The Supreme Court and all courts established by Act of Congress may
      issue all writs necessary or appropriate in aid of their respective
      jurisdictions and agreeable to the usages and principles of law.



II. SUBJECT MATTER JURISDICTION

This Petition for Writ of Prohibition is predicated upon Rule 21(a) .



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                                             Dated: September 30, 2022
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                     STATEMENT OF RELATED CASES

This cause is predicated upon the underlying related cases:

   (a) Petition For Writ of Habeas Corpus, In re Smocks, E.D. of Texas Case No.
       4:22-cv-00592-ALM-KPJ.

   (b) United States v. Smocks, U.S. District Court District of Columbia, Case No.
       1:21-cr-00198-TSC.

                                RELIEF SOUGHT

      Troy Anthony Smocks known from hereinafter as the (“Relator”)

respectfully requests that the Court grant its peremptory Writ of Prohibition and:

(1) abstain the United States Probation Office for the Eastern District of Texas, and

its officers, from forcefully installing upon the Relator’s electronic devices to

include but not limited to, his personal computer(s) and cellular phone, a software

tool that will: (1) aid in the infringement upon the Relator’s First Amendment

Right to exercise the freedom of speech, as guaranteed by the Constitution of the

United States, and Article 1 Section 8 to the Texas State Constitution; and (2)

abstain the United States Probation Office from offending the September 16,

2022, opinion of the Fifth Circuit Court of Appeals in NetChoice, LLC v. Paxton,

21-51178 and the statutory laws to the state of Texas, where the First Amendment

Rights of Texans are concerned.




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                              ISSUES PRESENTED

(a)   Whether the United States Probation Office for the Eastern District of Texas

should be abstained from violating Texas statutory law, and the Fifth Circuit Court

of Appeals, September 16, 2022 Circuit Law established in NetChoice, LLC v.

Paxton, 21-51178, regarding the censorship of speech and for violating the

privilege of attorney work product.

(b)   Whether this Court should direct the United States Probation Office for the

Eastern District of Texas and its subordinate officers, to abstain from forcefully

installing upon the Relator’s personal and private electronic devises a software

program for allowing the government to monitor and unlawfully censor the

Relator’s right to free and protected speech, and attorney client privilege.



            FACTS NECESSARY TO UNDERSTAND PETITION

1.    The Relator is a resident of Texas for the purpose of NetChoice and resides

in the Eastern District of Texas.

2.    The Relator serves as legal assistant for various criminal lawyers throughout

the United States and operates under the privilege of Attorney Work Product.

3.    On July 6, 2022, the Relator brought forth a free standing claim of actual

innocence in a pending habeas corpus action in the United States District Court for

the Eastern District of Texas, Case No. 4:22-cv-00592-ALM-KPJ, predicated upon


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”constitutionally protected political speech” involving a cell phone communication

on “January 6th”, and relating to the 2020, Presidential Election where the Relator

favored President Donald J. Trump, against opposing District of Columbia political

viewpoints.

4.    On July 27, 2022, officers from the United States Probation Office for the

Eastern District of Texas, made contact with the Relator and requested that Relator

voluntarily sign a document entitled Waiver of Hearing to Modify Conditions of

Probation / Supervised Release or Extend Term of Supervision. See (Exhibit 1).

Under the advice of counsel the Relator declined to voluntarily sign the waiver.

5.    On July 28, 2022, counsel for the Relator notified the United States

Probation Office for the Eastern District of Texas, that Relator had recently filed

with the Eastern District of Texas, a Petition for Writ of Habeas Corpus

challenging the validity of restraint against the Relator on the bases of insufficient

jurisdiction in the District of Columbia federal courts.

6.    Counsel advised the U.S. Probation Office via email, that due to the July 6,

2022, filing for habeas relief, jurisdiction over the Relator and validity of the

underlying case was now vested in the habeas corpus court under U.S. District

Judge Amos Mazzant III. See (Exhibit 2).

7.    On September 7, 2022, the United States Probation Office for the Eastern

District of Texas, filed with the district court in the District of Columbia, a request


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to modify the Relator’s terms and conditions of Supervised Release, so as to allow

the U.S. Probation Office and its subordinates, authority to search at will, the

Relator’s electronic devises to include computers, cell phones, and all third party

devices that the Relator may use in the course of business, studies, finances,

religious, and social related activities. See (Exhibit 3 at Page ¶ 2).

8.    On September 17, 2022, the Relator was served with a Summons to Appear

via Zoom, before the district court for the District of Columbia on Tuesday,

October 4, at 12:30 to formally address the request by the United States Probation

Office. See (Exhibit 4).

9.    This Petition For Writ of Prohibition diligently followed.



                    REASONS FOR GRANTING THE WRIT

10.   This Court should grant the writ so as to enforce the legal decision of the

United States Court of Appeals for the Fifth Circuit. Accordingly, the recent

September 16, 2022, ruling by the Fifth Circuit in NetChoice, LLC v. Paxton, 21-

51178, establishes circuit law that prohibits, and would otherwise bar the forced

application of a computer software monitoring system upon the Relator to censor

protected speech. In that, the software is indented to be used as the “Platform” or

like tool as determined by the court in NetChoice, for allowing the unconstitutional

censorship of speech upon Texans.


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11.   The objective of the United States Probation Office is to impose upon the

Relator censorship based on viewpoint politics.

12.   The merits to this argument, and more specifically the censorship intended

by the United States Probation Office is unambiguously stated within its pleading

to modify as set out in Attached Exhibit 3, page 2 ¶ 4, where the United States

Probation Office states;

      “…supervision might include prohibiting the person under
      supervision from owning or operating a computer, prohibiting the use
      of a device to access the internet, bulletin board systems, or chat
      rooms, and computer search.”

13.   Under the terms of the proposed modification, the Relator is subjected to

arbitrary control over his entire life, to include business affairs, banking, shopping,

intimate communications between spouses, and other privileged conversations

where the authority to ban the Relator from all technology uses rest in the

discretionary viewpoints of a government agency.

14.   In the Relator’s case, these prohibitions are subject to, or otherwise based on

censored speech or the political viewpoints of the officer and the District of

Columbia federal judge who imposes the new Supervised Release modification.

Moreover, the Relator resides in the state of Texas which has in place statutory

laws which prohibits the intended actions by the United States Probation Office.




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15.   Under Texas law, “censor means” “to block, ban, remove, deplatform,

demonetize, de-boost, restrict, deny equal access or visibility to, or otherwise

discriminate against expression."” NetChoice, LLC v. Paxton, No. 21-51178, at *3

(5th Cir. Sep. 16, 2022).

16.   The United States Probation Office pleads in Attached Exhibit 3, page 2 ¶ 4,

      “Mr. Smocks’ offense consist of using a computer devise as an
      instrument/tool.”

17.   This Court should be aware to the fact that the Relator is a former January

6th defendant, and the “offense” in question, is but one of the habeas corpus

challenges now pending in this district court for First Amendment protected speech

deprivation.

18.    Accordingly, within that habeas challenge, Relator brings forth a free

standing claim of actual innocence predicated upon ”constitutionally protected

political speech” involving a cell phone communication on “January 6 th”, and

relating to the 2020 Presidential Election where Relator favored President Donald

J. Trump, against the opposing District of Columbia political viewpoints.

19.   As the court just determined in NetChoice, the employment of such a

software application like the one intended for use against the Relator, forms as the

Platform or at best, a symbolic version thereof, meant to censor or otherwise chill

First Amendment political speech. Whereas the result of such a software

application as intended by the United States Probation Office, constitutes a First
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Amendment restriction on not merely the Relator’s speech, but serves equally to

censor “other people’s speech” within the Relator’s constitutionally protected right

to “receive” such speech by other people. NetChoice, LLC v. Paxton, No. 21-

51178, at *2-3 (5th Cir. Sep. 16, 2022). Again this conduct is statutorily unlawful

in the state of Texas.

      “…the business of the *** platforms is hosting the speech of others.
      Functioning as conduits for both makers and recipients of speech,
      **** It follows from the first two cases that in arbitrarily excluding
      from their platforms the makers of speech and preventing disfavored
      speech from reaching potential audiences” NetChoice, LLC v. Paxton,
      No. 21-51178, at *90 (5th Cir. Sep. 16, 2022)



20.   As the Court of Appeals continued to determine in NetChoice,
      “Numerous members of the public depend on social media platforms
      to communicate about civic life, art, culture, religion, Case: 21-51178
      Document: 00516474571 Page: 55 Date Filed: 09/16/2022 No. 21-
      51178 56 science, politics, school, family, and business. The Supreme
      Court in 2017 recognized that social media platforms “for many are
      the principal sources for knowing current events, checking ads for
      employment, speaking and listening in the modern public square, and
      otherwise exploring the vast realms of human thought and
      knowledge.” Packingham, 137 S. Ct. at 1737. The Court’s “modern
      public square” label reflects the fact that in-person social interactions,
      cultural experiences, and economic undertakings are increasingly
      being replaced by interactions and transactions hosted or facilitated by
      the Platforms. (Emp added) *** These decisions reflect the modern
      intuition that the Platforms are the forum for political discussion and
      debate, and exclusion from the Platforms amounts to exclusion from
      the public discourse. And for many, the Platforms are also no less

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      central to quotidian discussions about matters like school, family, and
      business, than they are to debates about politics, science, and
      religion.” (Emp added)

      The practical upshot is that telephone companies, email providers, shipping
      services, or any other entity engaged in facilitating speech can acquire a
      First Amendment license to censor disfavored viewpoints by merely
      gesturing towards "safety" or "dignity." That is not the law, as Miami
      Herald and Turner      I illustrate   and PruneYard and Rumsfeld confirm.
      NetChoice, LLC v. Paxton, No. 21-51178, at *87 (5th Cir. Sep. 16, 2022)


21.   Pursuant to NetChoice and those cases relied upon, the United States

Probation Office is an “entity” within the Court’s descriptive language pertaining

to “any other entity engaged in facilitating speech…”

22.   Under Texas state law and the Fifth Circuit Court of Appeals decision in

NetChoice, the United States Probation Offices (at lease those facilitated in the

state of Texas) that engage in speech censorship under the guise of “safety and

dignity” are statutorily prohibited from forcefully installing a software application

upon the Relator’s electronic devices that are meant for censoring speech.

23.   The NetChoice court determined that for Section 7 to apply, a censored user

must reside in Texas, do business in Texas, or share or receive expression in

Texas. Id. § 143A.004(a)-(b). Accordingly, the Relator is a Texan. "No man in this

country is so high that he is above the law. No officer of the law may set that law

at defiance with impunity. All the officers of the government, from the highest to




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 the lowest, are creatures of the law, and are bound to obey it. Bowdoin v. Malone,

 284 F.2d 95, 100 (5th Cir. 1960).



                THE ATTORNEY WORK PRODUCT FACTOR

 24.   The Relator has reasonable cause to fear that the new probation modification

 recommendation by the United States Probation Office may inadvertently serves as

 a tactical tool for allowing the government to know the civil ligation strategies, and

 communications between the Relator and his civil litigations law firm, against

 agents of the federal government itself.       As evidenced by the pleading of the

 United States Probation Office which provides;

       “The special condition the Court imposed originally only allows the
       USPO to ensure the person under supervision is not tampering with or
       circumventing the computer monitoring software.” See (Attached
       Exhibit 3 Page 2 ¶ 3.

 25.   The “original” condition by the District of Columbia was inapplicable to the

 Relator for reason that Relator’s underlying offence was predicated solely on

 speech opposed to fraud, theft or pornography. Moreover, the Relator has been an

 essential part to the legal defense teams of various January Six criminal defendants

 whose cases are still pending before the federal district courts in the District of

 Columbia.




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 26.   The Relator routinely conducts online legal research for this attorney, and

 other defense counsels all across the country, and that, said research is vital to the

 affective assistance of relevant defense counsels.

 27.   Because of this factor, Relator’s computer devises and electronic data are

 protected and privileged from government monitoring under attorney client work

 product. “The work-product doctrine protects materials prepared by or for

 an attorney in preparation for litigation. Hickman v. Taylor, 329 U.S. 495 (1947).

 "The law of the Fifth Circuit is that privilege can apply where litigation is not

 imminent." ” Premier Dealer Servs., Inc. v. Duhon, CIVIL ACTION NO: 12-1498,

 at *7 (E.D. La. Nov. 8, 2013). The recommendation of the United States Probation

 Office is unconstitutional on its face as applied to the Relator.

 28.   Due to the events of “January 6th” the Relator is engaged in several civil

 lawsuits against agents of the federal government to include the underlying habeas

 corpus action now pending in the Eastern District of Texas. Accordingly, said

 litigation requires the Relator to communicate with his legal counsel, and other

 members of the litigation team, absent governmental intrusion into the Relator’s

 privacy and litigation strategies. “Such a privacy interest exists in the electronic

 contents of computers and cell phones. See Riley v. California , ––– U.S. ––––, 134

 S.Ct. 2473, 2485, 189 L.Ed.2d 430 (2014)” United States v. Turner, 839 F.3d 429,

 434 (5th Cir. 2016).


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                  THE INHERENT RIGHT TO PRIVACY FACTOR

 29.   The recommendation of the United States Probation Office violates Texas

 statutory law, the Relator’s Fourth Amendment Privacy Right and the Fifth

 Amendment’s inherent right against would be self incrimination. “Cell phones are

 sophisticated devices holding a wealth of personal information and comprehensive

 insight into a person's privacy.” Scott v. Complete Logistical Servs., CIVIL

 ACTION NO: 19-11672 SECTION: "T" (4), at *2 (E.D. La. July 16, 2021). In our

 modern day of technology, these devices are essential in business, case

 management, and attorney / client communications. Texas law limits the ability of

 entities to engage in censorship activities by imposing anti-discrimination policies.

 Accordingly, and like social media platforms the United States Probation Office is

 an entity and "may not censor a user, a user's expression, or a user's ability to

 receive the expression of another person based on: (1) the viewpoint of the user or

 another person; (2) the viewpoint represented . . .; or (3) a user's geographic

 location." TEX. CIV. PRAC. &REM. CODE § 143A.002(a).

 30.   Further, the Relator, owns and operates a licensed business in the state of

 Texas, whereby such a broad and sweeping invasion into the Relator’s privacy,

 predicated on viewpoints of the United States Probation Office would directly

 infringe upon the personal privacy interest of all third parties to include the

 Relator’s business clients.


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 31.      Third party business clients would surely find discomfort in knowing the

 federal government could monitor their private affairs through electronic devices

 with the Relator. The actions intended by the United States Probation Office, is

 tantamount to a death sentence for the Relator’s business and livelihood. Such

 action would further chill confidential relations between the Relator, his Clergy,

 and his legal counsel. For these reasons the Court’s Writ of Prohibition should

 issue.




 CONCLUSION
          The Relator by and through counsel prays that this Honorable Court will
 Grant its WRIT OF PROHIBITION upon the arguments and legal authorities
 presented herein.



 Dated this 30th day of September, 2022.


                                                Respectfully submitted,


                                                _________________________
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                          CERTIFICATE OF SERVICE

 I certify that I served a copy of the Emergency Petition for Writ of Prohibition on
 September 30, 2022 by Certified U.S. Mail on the following persons:

 Austin LaBudda
 United States Probation Office
 500 N. Central Expy Ste 220
 Plano, Texas 75074

 United States District Judge
 Tanya S. Chutkan
 333 Constitutional Ave. NW
 Washington, DC 20001

                       CERTIFICATE OF COMPLIANCE

 I certify that this Emergency Petition For Writ Of Prohibition contains 2,889

 words. It is formatted in the 14 point, Times New Roman font. And is formatted

 within 1 inch borders with the appropriate page numbers centered at the bottom of

 each page.


 Dated this 30th day of September, 2022.


                                                /s/ Mark J. Lieberman
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